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                       Exhibit A
                                                                                                       Electronically Filed - City of St. Louis - March 06, 2017 - 10:59 AM
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                   IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                STATE OF MISSOURI

   GAIL LUCILLE INGHAM and ROBERT
   INGHAM, et al.,

               Plaintiffs,                          Case Number: 1522-CC10417

   v.

   JOHNSON & JOHNSON, et al.

               Defendants.


                    SECOND AMENDED NOTICE OF ORAL AND VIDEO
                    DEPOSITION OF JOANNE WALDSTRIECHER, M.D.


  TO:    Defendants: Johnson & Johnson and Johnson and Johnson Consumer Companies

         PLEASE TAKE NOTICE that, pursuant to Rule 57.03 of the Missouri Rules of Civil

  Procedure, Plaintiffs, by and through their counsel, will take the videotaped deposition of Joanne

  Waldstriecher, M.D on April 19, 2017 at 9:00 am (Local) at the offices of the Drinker, Biddle &

  Reath, 600 Campus Dr, Florham Park, NJ 07932. The deposition will be taken before a person

  authorized by law to administer oaths and will continue day-to-day until the examination is

  completed.

         The Defendant should also produce for inspection and copying, in accordance with Rule

  58.01, and no later than March 31, 2017 the documents requested in Exhibit “A” attached to this

  Notice below.
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  Dated: March 6, 2017         Respectfully submitted,

                                HOLLAND LAW FIRM

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                                Attorneys for Plaintiffs


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                                  CERTIFICATE OF SERVICE

         The undersigned certifies that a copy of the foregoing was served via Electronic mail and

  First Class Mail to the below counsel for Defendants on this 6th day of March, 2017.

  Gerard T. Noce                              Beth A. Bauer
  Hepler Broom LLC                            Hepler Broom LLC
  211 North Broadway, Suite 2700              130 N. Main Street, P.O. Box 510
  St. Louis, MO 63102                         Edwardsville, IL 62025
  Email: gtn@heplerbroom.com                  Email: bab@heplerbroom.com

  Mary Anne Mellow
  Mark A. Prost
  Sandberg Phoenix & von Gontard P.C.
  600 Wasington Ave., 15th Floor
  St. Louis, MO 63101-1313
  Email: mmellow@sandbergphoenix.com
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                                              Respectfully submitted,

                                              s/ Eric D. Holland ___________
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                                            EXHIBIT “A”
                                             Definitions

         The following definitions apply to this notice of deposition and are deemed to be

  incorporated into each request below:

         a.      The term “DOCUMENT(S)” as used herein is defined herein to be synonymous in

  meaning and equal in scope to the usage of this term in 58.01(a)(1) of the Missouri Rules of Civil

  Procedure. Whenever the term DOCUMENT(S) is used herein, it shall include without the need

  for further reference and without limitation, all written, printed, typed, word-processed, copy,

  photocopy, photo static copy, photographed, recorded, computer-generated files, writing, text, file,

  representation, image, object, computer file, recorded information, presentation, communication,

  representation, record, all data in any form, whether comprised of letters, words, numbers, pictures,

  sounds, bytes, e-mails, electronic signals or impulses, electronic data, active files, deleted files,

  file fragments, memoranda, notes, records, letters, envelopes, telegrams, messages, instant

  messages, chats, voicemails, studies, analyses, contracts, agreements, projections, estimates,

  working papers, accounts, analytical records, reports and/or summaries of investigation, opinions

  of consultants, reports of consultants, opinions of experts,       reports of experts, opinions of

  accountants, reports of accountants, other reports, trade letters, press releases, comparisons, books,

  diaries, articles, magazines, newspapers, booklets, brochures, pamphlets, circulars, bulletins,

  notices, forecasts, drawings, diagrams, PowerPoint-type files, spreadsheets, video files, audio files,

  instructions, minutes of meetings, minutes of communications of any type, including inter- and

  intra-office communications, telephone conference, meetings and conferences with any regulatory

  agencies wherever located, questionnaires, surveys, charts, graphs, photographs, films, tapes,

  discs, data cells, drums, printouts, all other compiled data which can be obtained (translated, if

  necessary, through intermediary or other devices into usable forms), documents maintained on,


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  stored in and/or generated on any electronic transfer and/or storage systems, including all versions

  (including drafts and revisions) of any of the foregoing, and other writings or documents of

  whatever description or kind, whether produced or authorized by or on behalf of you or anyone

  else, and shall include all non-identical copies and drafts of any of the foregoing now in the

  possession, custody or control of you, or the former or present directors, officers, counsel, agents,

  employees, partners, consultants, principals, and/or persons acting on your behalf. The term

  DOCUMENTS includes all duplicates of documents contemporaneously or subsequently created.

  The term DOCUMENTS also includes all drafts.             The term DOCUMENT(S) also includes

  COMMUNICATION(S) as defined below.                The DOCUMENTS requested herein include

  DOCUMENTS no matter where they were created, maintained or stored and are expressly not

  limited to DOCUMENTS created, maintained and/or stored in the United States. Further, the term

  DOCUMENT(S) refers to all documents whether or not the DEFENDANT(S) created, edited

  and/or received the DOCUMENT(S) as part of the original and/or intended chain and/or disclosed

  to anyone in the disclosed chain.

         b.      “Relating to,” “relate to,” “relating,” “referring to,” “refer to,” “reflecting,”

  “reflect,” “concerning,” or “concern” shall mean evidencing, regarding, concerning, discussing,

  embodying, describing, summarizing, containing, constituting, showing, mentioning, reflecting,

  pertaining to, dealing with, relating to, referring to in any way or manner, or in any way logically

  or factually, connecting with the matter described in that paragraph of these demands, including

  documents attached to or used in the preparation of or concerning the preparation of the

  documents.

         c.      Whenever the term “COMMUNICATION(S)” is used herein, it shall include

  without the need for further reference and without limitation, every manner or means of disclosure,



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  transfer or exchange and every disclosure, transfer or exchange of information, whether orally,

  electronically or by DOCUMENT(S) or whether face-to- face, by teleconference, telephone, mail,

  e-mail, text messaging, instant messaging, chat, facsimile, personal delivery, overnight delivery or

  other format. To the extent that a COMMUNICATION is in the form of, attached to, and/or part

  of a DOCUMENT, it is included under the definition of the term DOCUMENT, above. To the

  extent that a COMMUNICATION(s) is two-way, the definition “BY AND BETWEEN” at set

  forth   in   the DEFINITIONS          section   of Exhibit      A will      apply where the word

  COMMUNICATION(S) is used.

          d.      The term “BY AND BETWEEN” shall be deemed to include the items (i.e.

  documents, communications, etc.) provided by YOU to the recipient as well as items received by

  YOU or your designee and/or agent received from or on behalf of that same recipient.

          e.      “You, “your,” and “defendant” means the individual party to whom this notice is

  directed and all of its domestic and foreign successors in interest, predecessors in interest,

  subsidiaries, parents, affiliates, and any of its or their divisions, subdivisions, parents, subsidiaries,

  affiliates, partners, directors, officers, employees, servants, agents, joint venturers, independent

  contractors, third-party contractors, attorneys, accountants, consultants, investment advisors,

  bankers or other representatives, whether present or former, and any other person acting or

  purporting to act on its or their behalf.

          f.      The connectives “and” and “or” mean either disjunctively or conjunctively as

  necessary to bring within the scope of the discovery request all responses that might otherwise be

  construed to be outside of its scope.

          g.      The use of the singular includes the plural and vice versa.




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         h.      Unless otherwise indicated, the relevant time period for the information sought is

  1975 to present.

                                     Documents to be Produced


         1.      Please produce your current resume, document(s) detailing your occupational

  history and/or Curriculum Vitae.

         2.      Please produce any and all documents that reflect or relate in any way to any other

  inquiry or research conducted by you or at your request or direction in anticipation of or in the

  preparation of your depositions.

         3.      Please produce any other documents of any nature that constitute, reflect, comprise,

  pertain, describe, or relate in any way to any other document or source of information (including

  individuals) you relied upon in preparing for your deposition.

         4.      Please produce any other documents (not otherwise produced in response to a

  foregoing paragraph) that you reviewed in preparation for your deposition.

         5.      Please produce any and all non-privileged documents, including but not limited to

  notes, correspondence, memoranda, tapes or transcriptions thereof, computerized information,

  minutes of meetings, or other documentation which reflect or relate in any way to conferences,

  meetings, or conversations you had with any individual or entity during which you prepared for or

  otherwise discussed.

         6.      Please produce any and all non-privileged files, documents or communications,

  including any messages where you are copied, relating to talcum powder, Baby Powder®, and/or

  Shower to Shower®.




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     7.         Please produce any documents that support the claim that “[s]ince the 1970s, talc

     used in consumer products has been required to be asbestos-free, so Johnson's talc products do

     not contain asbestos, a substance classified as cancer-causing.

     8.         Please produce any documents that support the claim that “Johnsons baby powder

     products contain only U.S Pharmacopeia (USP) grade talc, which meets the highest quality,

     purity and compliance standards.”

     9.         Please produce any documents that support the claim that “[t]he company's sources

     for talc are routines evaluated using a sophisticated battery of tests designed to ensure

     compliance with all global standards."

     10.        Please produce any documents concerning talc specifications for your powder

     products from 1970 to the present.

     11.        Please produce any videos, including outakes, made relating to talcum powder,

     Baby Powder®, and/or Shower to Shower®.

     12.        Please produce any documents concerning research and development policies

     relating to talcum powder, Baby Powder®, and/or Shower to Shower®.

     13.        Please produce any documents concerning research and development budgets

     relating to talcum powder, Baby Powder®, and/or Shower to Shower®.

     14.        Please produce any documents that relate to studies, both published and/or

     unpublished, conducted or funded by Johnson & Johnson.

     15.        Please produce any documents concerning presentations given at Universities

     relating to talcum powder, Baby Powder®, and/or Shower to Shower®.

     16.        Please produce any documents concerning post maket surveillance studies relating

     to talcum powder, Baby Powder®, and/or Shower to Shower®.



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  17.       Please produce any scripts, drafts of scripts, edits, notes and all other documents

  related to the video published on Johnson & Johnson’s blog on May 2nd, 2016

  (http://www.blogjnj.com/2016/05/a-message-about-talc/)




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